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                                                                                          Jo Ann Salgado, District Clerk
                                                                                               Brewster County, Texas
                                                                                                         Alicia Mediano




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                                                                                           Jo Ann Salgado, District Clerk
                                                                                                Brewster County, Texas
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                                                                                                       Jo Ann Salgado, District Clerk
                                                                                                             Brewster County, Texas
                                                GOODE CASSEB JONES                                                     Alicia Mediano

                                              RIKLIN CHOATE & WATSON
                                                  A PROFESSIONAL CORPORATION
                                                                                                         T E LE PH ON E
                                                      ATTORNEYS AT LAW
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       (1923-1994)                            SAN ANTONIO, TEXAS 78212-9680




                                                        April 30, 2019


                 Jo Ann Salgado                                                                     via e-filing
                 District Clerk
                 Brewster County Courthouse
                 PO Box 1024
                 Alpine, TX 79831

                         RE:   Cause No. cvb19296; J.P. Bryan vs. Union Pacific Railroad Company and
                               Union Pacific Corporation; 394th Judicial District Court, Brewster County,
                               Texas

                 Dear Sir/Madam

                         Please be advised that I will be on vacation during the following dates:

                         S     May 8, 2019 through May 20, 2019, inclusive.

                       Please do not schedule me for any hearings or other matters on those days.
                 Thank you.

                                                                     Respectfully submitted,

                                                                     /s/Fred R. Jones
                                                                     Fred R. Jones
                                                                     State Bar No. 10886700
                                                                     Jones@goodelaw.com




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